Case 2:07-md-01873-KDE-MBN Document 14412-1 Filed 06/17/10 Page 1 of1

AC) 3209 (Q3/08) Waiver of the Service of Summons

UNITED STATES DISTRICT COURT

for the

Eastern District of Louisiana

Damou Barder

Plaintiff
¥.
American International Group, et al
Defendant

Civil Action No. 10-1035

Waiver of the Service of Summons

To: Justin J. Woods
‘Name of the plaintiff's attorney or unrepresented plaintiff)

I have received your request to waive service of a summons in this action along with a copy of the complaint, two
copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s jurisdiction,
and the venue of the action, but that I waive any objections to the absence of a summons or of service.

{also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within

60 days from , the date when this request was sent (or 90 days if it was sent outside the
United States). HJ fail to do so, a default judgment will be entered against me or the ent represent,
Date Tone J MLO SO A LF
\_- Sighature of the attorney or unrepresented party
this waiver is on behalf of: Charles E. Leche
charts Select insurance Company (formerly Starr Printed name
xcess Liability insurance Company) 755 Magazine Street
New Orleans, LA 70130
Address

cleche(@dkslaw.com

E-mail address

504.493.0790

Telephone number

Duty to Avoid Unnecessary Expenses of Serving » Summons

Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons and
complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in the United
States will be required to pay the expenses of service, unless the defendant shows good cause for the failure

“Good cause” docs nof include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has no
jurisdiction over this matter or over the defendant or the defendant's property.

If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of a
summons or of service.

If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff and
file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
